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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                      MIAMI DIVISION

                            CASE NO. 19-24656-CIV-KING/BECERRA

   ARMOR CORRECTIONAL HEALTH
   SERVICES, INC.,

               Plaintiff,

   v.

   BRUCE TEAL,

               Defendant.

   _________________________/

           PLAINTIFF ARMOR CORRECTIONAL HEALTH SERVICES, INC.’S
        REPLY IN FURTHER SUPPORT OF ITS MOTION IN LIMINE TO PRECLUDE
          EXPERT OPINIONS NOT CONTAINED IN RULE 26 EXPERT REPORTS
                   AND INCORPORATED MEMORANDUM OF LAW

           Plaintiff, Armor Correctional Health Services, Inc. (“Armor”), by and through
  undersigned counsel, pursuant to Southern District of Florida Local Rules 7.1, hereby files this
  Reply in further support of its Motion in Limine to Preclude Expert Opinions Not Contained
  Rule 26 Expert Reports and Incorporated Memorandum of Law (ECF No. 77, the “Motion”),
  and in response to Defendant Bruce Teal’s (“Teal”) Notice of Non-Opposition in Response
  thereto (ECF No. 92, the “Response”). Tealʼs Response asserts that he consents to the relief
  sought in Armorʼs Motion subject to two clarifications (Resp., ECF No. 92, at p.1), to which
  Armor responds as follows:
           First, Armor agrees that Teal may seek to elicit opinions timely disclosed within Mr.
  Tennantʼs rebuttal report.
           Second, Armor agrees to supplementation of expert reports based on “relevant new
  information becom[ing] available” as outlined in Tealʼs Response, provided that the specific
  potential supplementation contemplated by Mr. Deppman based on the later availability of
  Armorʼs audited financials is limited to “adjustment” of calculations as contemplated, and not
  new or additional opinions. Such supplementation must be provided in a supplemental expert


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  report, and Armor must have the ability to depose Mr. Deppman about the supplementation if
  Armor deems it necessary.
           WHEREFORE, for the foregoing reasons, Plaintiff Armor Correctional Health Services,
  Inc., respectfully requests that this Court enter an Order precluding counsel for either party from
  seeking to elicit from their own experts opinions that are not contained in the four corners of the
  expert’s Rule 26 report, or opinions that rely on facts or data not disclosed or identified in the
  expert’s Rule 26 report, as clarified within this Reply, together with such other and further relief
  as the Court deems just and equitable under the circumstances.
  Dated: May 24, 2021                           Respectfully submitted,

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                                                 Counsel for Plaintiff, Armor Correctional Health
                                                 Services, Inc.




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                                      CERTIFICATE OF SERVICE
           I hereby certify that on May 24, 2021, a true and exact copy of the foregoing was served
  on the following individuals via the Court’s CM/ECF system:
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  Counsel for Defendant



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